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 7
 8                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA
 9
10    Phu Trong Bui,                                          No.: 2:17-cv-04376-SPL
11
                    Plaintiff,
12           vs.                                        NOTICE OF SETTLEMENT
13
      Equifax Information Services LLC;
14
15                  Defendant.
16
17          Plaintiff, through counsel, hereby notifies the Court that Plaintiff and Defendant
18
     Equifax Information Services, LLC, ( “Equifax”) have settled this matter regarding
19
     Plaintiff’s claims against Defendant Equifax. Plaintiff and Equifax will file dismissal
20
21 paperwork in the near future.
22          DATED October 12, 2018.
23
                                               CHOI & FABIAN, PLC
24
25
                                               /s/ Hyung S. Choi
26                                             Hyung S. Choi
27                                             Attorneys for Plaintiff
28
      Case 2:17-cv-04376-SPL Document 30 Filed 10/12/18 Page 2 of 2




 1                             CERTIFICATE OF SERVICE
 2
          I hereby certify that on October 12, 2018, I electronically transmitted the
 3 attached documents to the Clerk’s Office using the CM/ECF System for filing and
 4 transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 5
        Adiba Jurayeva                        Ted Roethke
 6      SNELL & WILMER LLP                    King & Spalding, LLP
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 9      Attorney for Defendant Equifax        Attorney for Defendant Equifax Information
        Information Services LLC              Services LLC
10
11
12   /s/ Dinah Lee
13
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